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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

  SHELLY GOMEZ,                                          )
                                                         )
                                                         )
                         Plaintiff,                      )
                                                         )
                                                         )
  v.                                                     )
                                                         )
  PORTFOLIO RECOVERY                                     )       CIVIL ACTION FILE NO.:
                                                         )
  ASSOCIATES, LLC.,                                      )          1:10-CV-01031MSK
                                                         )
                         Defendant.                      )
                                                         )
                                                         )
                                                         )
                                                         )
                                                         )
                                                         )
                                        AMENDED ANSWER

            COMES NOW defendant Portfolio Recovery Associates, LLC ("Portfolio" or

  "Defendant"), by and through its undersigned counsel, as and for its response to plaintiff Shelly

  Gomez’ ("Plaintiff") complaint, states as follows:

                                               JURISDICTION

       1.      In response to Paragraph 1 of Plaintiff’s Complaint, Portfolio admits that this

Honorable Court has jurisdiction of claims for violations of the Fair Debt Collection Practices Act

(“FDCPA”), but denies that Portfolio violated any law.

       2.      Portfolio denies that it violated the FDCPA.



                                       JURISDICTION AND VENUE

       3.      Portfolio admits that venue is proper, but denies that it violated any law.
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        4.      Portfolio is without sufficient knowledge to admit or deny the allegations contained

in Paragraph 4 of Plaintiff’s Complaint, and therefore denies the same and demands strict proof

thereof.

        5.      Portfolio is without sufficient knowledge to admit or deny the allegations contained

in Paragraph 5 of Plaintiff’s Complaint, and therefore denies the same and demands strict proof

thereof.

        6.      Portfolio admits that it transacts business in the State of Colorado.

                                                    PARTIES

        7.      Portfolio is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 7 of Plaintiff’s Complaint, and therefore must deny the same and demand

strict proof thereof.

        8.      Portfolio is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 8 of Plaintiff’s Complaint, and therefore must deny the same and demand

strict proof thereof.

        9.      Portfolio is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 9 of Plaintiff’s Complaint, and therefore must deny the same and demand

strict proof thereof.

        10.     Portfolio admits that it is a Delaware limited liability company with its headquarters

in Norfolk, Virginia.

        11.     Portfolio admits the allegations contained in Paragraph 11 of Plaintiff’s Complaint.

        12.     Portfolio admits that when it acts as a debt collector as defined by 15 U.S.C. 1692

(a)(6) its conduct may be governed by the applicable sections of the FDCPA.

        13.     Portfolio admits it is licensed to collect debt under the applicable Colorado law.


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          14.     Portfolio admits that it engages in the business of purchasing debt for collection.

Except as specifically admitted, Portfolio denies the remaining allegations of Paragraph 14 of

Plaintiff's Complaint and demands strict proof thereof.

          15.     Portfolio denies the allegations contained in Paragraph 15 of Plaintiff’s Complaint.

Portfolio owns the accounts on which it attempts collection and does not act as a third party

collector.

                                        FACTUAL ALLEGATIONS

          16.     Portfolio admits the allegation contained in Paragraph 16 of Plaintiff’s Complaint.

          17.     Portfolio admits the allegation contained in Paragraph 17 of Plaintiff’s Complaint.

          18.     Portfolio admits the allegation contained in Paragraph 18 of Plaintiff’s Complaint.

          19.     Portfolio admits the allegation contained in Paragraph 19 of Plaintiff’s Complaint.

          20.     Portfolio admits that it purchased the subject account.           Except as specifically

admitted, Portfolio denies the remaining allegations of Paragraph 20 of Plaintiff’s Complaint and

demands strict proof thereof.

          21.     Portfolio lacks sufficient information to admit or deny the allegations contained in

Paragraph 21 of Plaintiff’s Complaint.

          22.     Portfolio lacks sufficient information to admit or deny the allegations contained in

Paragraph 22 of Plaintiff’s Complaint.

          23.     Portfolio admits that it called Plaintiff in the year prior to the filing of the instant

action.

          24.     Portfolio admits that the Plaintiff called Portfolio in the year prior to the filing of the

instant action.




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        25.    Portfolio admits that it called Plaintiff and left voicemail messages for purposes of

collecting a debt.

        26.    Portfolio admits that it spoke with Plaintiff about the subject account. Except as

specifically admitted, Portfolio denies the allegations contained in Paragraph 26 of Plaintiff’s

Complaint.

        27.    The allegations of Paragraph 27 of Plaintiff’s Complaint contain conclusions of law

to which no response is required and therefore they are denied.

        28.    Portfolio admits that it called the Plaintiff for purposes of collecting a debt.

        29.    Portfolio admits that it had conversations with Plaintiff for purposes of collection a

debt.

        30.    Portfolio admits that it had conversations with Plaintiff for purposes of collection a

debt.

        31.    Portfolio is without sufficient information to admit or deny the allegations contained

in Paragraph 31 of Plaintiff’s Complaint and therefore must deny the same and demand strict proof

thereof.

        32.    Portfolio is without sufficient information to admit or deny the allegations contained

in Paragraph 32 of Plaintiff’s Complaint and therefore must deny the same and demand strict proof

thereof.

        33.    Portfolio denies the allegations contained in Paragraph 33 of Plaintiff’s Complaint

and demands strict proof thereof.

        34.    Portfolio denied the allegation in Paragraph 32 of Plaintiff’s Complaint, and

therefore is without sufficient information to admit or deny the allegation in Paragraph 33 of

Plaintiff’s Complaint.


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       35.     Portfolio denies the allegations contained in Paragraph 35 of Plaintiff’s Complaint

and demands strict proof thereof.

       36.     Portfolio lacks sufficient information to admit or deny the allegation in Paragraph 36

of Plaintiff’s Complaint of Plaintiff’s Complaint.

       37.     Portfolio lacks sufficient information to admit or deny the allegation in Paragraph 36

of Plaintiff’s Complaint of Plaintiff’s Complaint, and therefore denies the allegations contained in

Paragraph 37 of Plaintiff’s Complaint.

       38.     Portfolio denies the allegations contained in Paragraph 38 of Plaintiff’s Complaint

and demands strict proof thereof.

       39.     Portfolio denies the allegations contained in Paragraph 39 of Plaintiff’s Complaint

and demands strict proof thereof.

       40.     Portfolio denies the allegations contained in Paragraph 40 of Plaintiff’s Complaint

and demands strict proof thereof.

       41.     Portfolio denies the allegations contained in Paragraph 41 of Plaintiff’s Complaint

and demands strict proof thereof.

       42.     Portfolio denies the allegations contained in Paragraph 42 of Plaintiff’s Complaint

and demands strict proof thereof.

       43.     Portfolio denies the allegations contained in Paragraph 43 of Plaintiff’s Complaint

and demands strict proof thereof.

       44.     Portfolio denies the allegations contained in Paragraph 44 of Plaintiff’s Complaint

and demands strict proof thereof.




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                                    RESPONDEAT SUPERIOR


       45.     Portfolio lacks sufficient information to admit or deny. “Representatives” and

employees are not defined and/or specified and thus we have insufficient knowledge as to status of

employment.

       46.     Portfolio lacks sufficient information to admit or deny. “Representatives” and

employees are not defined and/or specified and thus we have insufficient knowledge as to status of

employment.

       47.     Portfolio lacks sufficient information to admit or deny. “Representatives” and

employees are not defined and/or specified and thus we have insufficient knowledge as to status of

employment.

       48.     Portfolio lacks sufficient information to admit or deny. “Representatives” and

employees are not defined and/or specified and thus we have insufficient knowledge as to status of

employment.

       49.     The allegations of Paragraph 49 of Plaintiff’s Complaint contain conclusions of law

to which no response is required and therefore they are denied.

       50.     Portfolio is without sufficient knowledge to admit or deny the allegations contained

in Paragraph 50 of Plaintiff’s Complaint and therefore must deny the same and demand strict proof

thereof.

                                COUNT I – FDCPA VIOLATIONS


       51.     Defendants repeat the responses to the allegations contained in paragraphs 1 through

50 and incorporate them as if the same were set forth at length. The allegations of Paragraph 51




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contain conclusions of law to which no response is required and therefore they are denied. To the

extent that the allegations are deemed factual as to Defendants they are denied.



       52.       The allegations of Paragraph 52 contain conclusions of law to which no response is

required and therefore they are denied. To the extent that the allegations are deemed factual as to

Defendants they are denied.

       53.       Portfolio is without sufficient knowledge to admit or deny the allegations contained

in Paragraph 53 of Plaintiff’s Complaint and therefore must deny the same and demand strict proof

thereof.

           54.     The allegations of Paragraph 54 contain conclusions of law to which no response

  is required and therefore they are denied. To the extent that the allegations are deemed factual as

  to Defendants they are denied.

                                           PRAYER FOR RELIEF

           WHEREFORE, Defendant requests that this Honorable Court award judgment in favor of

  Portfolio Recovery Associates, LLC and against Plaintiff, together with costs, attorneys’ fees

  pursuant to 15 U.S.C. § 1692k(a)(3) and such other relief as this Honorable Court deems

  appropriate.



                                  FIRST AFFIRMATIVE DEFENSE

           Plaintiff's Complaint and each count claimed therein fails to state a claim against

  Portfolio upon which relief can be granted.




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                                SECOND AFFIRMATIVE DEFENSE

          Portfolio denies both the material allegations of Plaintiff's Complaint and that Plaintiff is

  entitled to the relief requested therein.

                                 THIRD AFFIRMATIVE DEFENSE

          Portfolio affirmatively invokes and asserts all defenses created by and under the Fair

  Debt Collection Practices Act, including that Plaintiff's claim is barred by the bona fide error

  defense and that Portfolio's conduct was in good faith and in conformity with a formal opinion of

  the Federal Trade Commission.

          WHEREFORE, Portfolio Recovery Associates, LLC demands that the complaint be

  dismissed with prejudice and that they be awarded costs of this action, attorneys’ fees pursuant

  to 15 U.S.C. § 1692k(a)(3) and such other relief as this Honorable Court may deem appropriate.




          Respectfully submitted this 26th day of May 2010.




                                                _/s/ Bruce R. Carvajal
                                                ____________________________________
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